Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
Filed 07/27/10   Case 10-18401   Doc 1
